Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 1 of 9 PageID #:1147




                                                   U.S. Postal Service'"
                                      rr           CERTIFIED MAIL® RECEIPT
                                      CJ          Domestic Mail Only
                                      ::r
                                     : ~~~~~~~~~~~iiii
                                     ~ ~~~t-7-~~~~~~~~~--~
                                     m fti'iiiilin~p;r.;;~~~==.,.,...,...l
                                     ,...;
                                    c
                                    c                                                                        PostmBik
                                    c                                                                          Here

                                    ~ ~~~~~~~~~==~
                                    ::r
                                    ,...; i'i'::::r.,-,.,.
                                                        tr                      Allen M. Soucie
                                    ~                                         13124 W. 3000N Rd.
                                    ,...; Sont fo
                                                                                Essex, IL 60935
                                    ~ ~iiliid
                                             t7iji,".Siah;:

                                                              ! It   ••   1   •
                                                                                  .......


         • Complete Items 1, 2, and 3.
         • Print your name and address on the reverse
           so that we can return the card to you.
         • Attach this card to the back of the mallplece,
           or on the front If
         1. Article Addressed to:                                                 D. Is delivery address different from Item 1?
                                                                                     If YES, enter deliV&l}' addi'BSS below:
                         Allen M. Soucie
                       13124 W. 3000N Rd.
                         Essex, IL 60935



             1111111111111111111111111111111111111111111111
               9590 9402 3843 8032 3331 92




        PSFonn            , July 2015 PSN 7530..()2-000-9053                                                        Domestic Return Receipt
              Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 2 of 9 PageID #:1148


                                                                                                     INVOICE
  Royal Reporting Services, Inc.
                                                                                          Invoice No.             Invoice Date                  Job No.
  161 North Clark Street
  Suite 3050                                                                                 25119                 10/18/2018                     13807
  Chicago, IL 60601
                                                                                           Job Date                               Case No.
  Phone:312.361.8851 Fax:312.361.8861
                                                                                           9/25/2018          17 ()J 5235

                                                                                                                   Case Name

                                                                                    Soude, Michelle v. City of Braidwood, Illinois

        David L. Miller
        Rock Fusco & Connelly, LLC                                                                              Payment Terms
        321 N. Clark Street
                                                                                    Net 30
        Suite 2200
        Chicago, IL 60654


 ORIGINAL TRANSCRIPT IN ETRAN FORMAT:
        Michelle Soucie                                                                          255.00 Pages             @             3.98              1,014.90
              Appearance Hourly                                                                      5.50 Hours           @           62.50                343.75
              Delivery                                                                                                                 10.00                10.00

                                                                                                  TOTAL DUE >>>                                     $1,368.65
 Thank you. We appredate your business.

                                                                                                  (-) Payments/Credits:                                   1,368.65
                                                                                                  ( +) Finance Charges/Debits:                               0.00
                                                                                                  ( =) New Balance:                                        $0.00



                                             ~55 )( 4 3. (; 5 == f '130-75
                                                5·5 Hou-rs.                   1t ;;l;;;l(). 00
                                                                                      lo.oo
                                                                            ~IIG0 . 15


Tax ID: XX-XXXXXXX

                                               Please detach boltom portion and return with payment.



 David L. Miller                                                                  Invoice No.           25119
 Rock Fusco & Connelly, LLC
                                                                                  Invoice Date          10/18/2018
 321 N. Clark Street
 Suite 2200                                                                       Total Due             $0.00
 Chicago, IL 60654




                                                                                 Job No.                13807
Remit To:   Royal Reporting Services, Inc.                                        BU ID                 RRS-MAIN
            161 North Clark Street                                               Case No.               17 ()J 5235
            Suite 3050
            Chicago, IL 60601                                                    Case Name              Soucie, Michelle v. City of Braidwood, Illinois
              Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 3 of 9 PageID #:1149




  Royal Reporting SeJVIces, Inc.
                                                                                           INVOICE
                                                                                    Invoice No.          Invoice Date              Job No.
  161 North Clark Street
  Suite 3050                                                                            26079              11/30/2018               13921
  Chicago, IL 60601
  Phone:312.361.8851 Fax:312.361.8861                                                Job Date                          Case No.
                                                                                     10/31/2018        17 0/5235
                                                                                                           Case Name
                                                                                 Soucie, Michelle v. City of Braidwood, Illinois
       David L. Miller
       Rock Fusco & Connelly, LLC                                                                      Payment Terms
       321 N. Clark Street                                                       Net 30
       Suite 2200
       Chicago, IL 60654

 COPY OF TRANSCRIPT IN ETRAN FORMAT:
      Chief Nicholas Acarello                                                              160.00 Pages          @          2.83        452.80
            Exhibits scanned                                                                22.00 Pages          @          0.38          8.36
 COPY OF TRANSCRIPT IN ETRAN FORMAT:
     Chief Nicholas Acarello - Confidential                                                  15.00 Pages         @         2.83          42.45
                                                                                             TOTAL DUE >>>                            $503.61
 Thank you. We appreciate your business.




                                                                   ---      /?>. 60




Tax ID~ XX-XXXXXXX
                                              Please detach bouom portion amlrc!lllm with payment.

                                                                               Job No.   : 13921              BU ID         :RRS-MAIN
 David L Miller                                                                Case No.  : 17 at 5235
 Rock Fusco & Connelly, LLC                                                    Case Name : Soucie, Michelle v. City of Braidwood, Illinois
 321 N. Oark Street
 Suite 2200
 Chicago, IL 60654                                                             Invoice No. : 26079               Invoice Date : 11/30/2018
                                                                               Total Due : $ 503.61


                                                                                 PAYMENT WITH CREDIT CARD
                                                                                Cardholder's Name:
                                                                                Card Number:
                                                                                Exp. Date:                     Phone#:
Remit To: Royal Reporting Services, Inc.
          161 North Clark Street                                                Billing Address:
          Suite3050                                                             Zip:                 Card Security Code:
          Chicago, IL 60601                                                     Amount to Charge:
                                                                                Cardholder's Signature:
              Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 4 of 9 PageID #:1150


                                                                                                           INVOICE
 Royal Reporting Services, Inc.
                                                                                                Invoice No.              Invoice Date                  Job No.
 161 North Clark Street
 Suite 3050                                                                                        26083                    12/3/2018                   14169
 Chicago, IL 60601
                                                                                                 Job Date                                Case No.
 Phone:312.361.8851 Fax:312.361.8861
                                                                                                 11/1/2018           17 OJ 5235

                                                                                                                          Case Name

                                                                                          Soude, Michelle v. City of Braidwood, Illinois

        David L. Miller
        Rock Fusco & Connelly, LLC                                                                                     Payment Terms
        321 N. Clark Street
                                                                                          Net 30
        Suite 2200
        Chicago, IL 60654


 COPY OF TRANSCRIPT IN ETRAN FORMAT:
        James A. Vehrs                                                                                     65.00 Pages           @             2.83              183.95
               Exhibits scanned                                                                            16.00 Pages           @             0.38                6.08
 COPY OF TRANSCRIPT IN ETRAN FORMAT:
        Tari Atherton                                                                                      53.00 Pages           @             2.83              149.99
               Exhibits scanned                                                                             3.00 Pages           @             0.38                1.14

                                                                                                        TOTAL DUE >>>                                        $341.16

 Thank you. We appreciate your business.

                                                                                                        (·)Payments/Credits:                                       0.00
                                                                                                        (+)Finance Charges/Debits:                                 0.00

                                       ~5 y: , qo f ::: $' 5~ -                 s-o                     ( =) New Balance:                                    $341.16

                                                                           (p , 0 g
                                           53 X: ( ~ 0 ¢ ;;: {1· t.f-1 , 'l 0
                                                                     /. 14-


Tax ID: XX-XXXXXXX

                                                     Please detach bollom portion and return with payment.



 David L. Miller                                                                        Invoice No.            26083
 Rock Fusco & Connelly, LLC                                                             Invoice Date           12/3/2018
 321 N. Clark Street
 Suite 2200                                                                             Total Due              $341.16
 Chicago, IL 60654




                                                                                       Job No.                 14169
Remit To:   Royal Reporting Services, Inc.                                              BU ID                  RRS-MAIN
            161 North Clark Street                                                     Case No.                17 OJ 5235
            Suite 3050
            Chicago, IL 60601                                                          Case Name               Soucie, Michelle v. City of Braidwood, Illinois
             Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 5 of 9 PageID #:1151




  Royal Reporting Services, Inc.
                                                                                           INVOICE
                                                                                      Invoice No.         Invoice Date               Job No.
  161 North Clark Street
  Suite 3050                                                                            26243                 12/3/2018               14358
  Chicago, IL 60601
  Phone:312.361.8851 Fax:312.361.8861                                                  Job Date                           Case No.

                                                                                       11/8/2018        17 015235
                                                                                                          Case Name
                                                                                Soude, Michelle v. City of Braidwood, Illinois
       David L. Miller
       Rock Fusco & Connelly, LLC                                                                       Payment Terms
       321 N. Oark Street
                                                                                Net 30
       Suite 2200
       Chicago, IL 60654


  ORIGINAL TRANSCRIPT IN ETRAN FORMAT:
       Allen M. Soucie                                                                         150.00 Pages       @          3.98         597.00
             Appearance Hourly                                                                   3.00 Hours       @         62.50         187.50
             Exhibits scanned                                                                   54.00 Pages       @          0.38          20.52
             Delivery                                                                                                       10.00          10.00
                                                                                                TOTAL DUE >>>                           $815.02
 Thank you. We appredate your business.




                                    I s-o K $3. loS' ::- 1> GL/-1. 5o
                                          3 h ou.rs         t {~ , DO
                                                                           ·;;J. 0 . 5 -:J..
                                                                           lo . oo



Tax ID: XX-XXXXXXX

                                           Please detach bot/om portion and rot11rn with payment.

                                                                              Job No.          : 14358             BU ID         :RRS-MAIN
 David L. Miller                                                              case No.         : 17 01 5235
 Rock Fusco & Connelly, LLC                                                   case Name : Soude, Michelle v. City of Braidwood, Illinois
 321 N. aark Street
 Suite 2200
 Chicago, IL 60654                                                            Invoice No. : 26243                 Invoice Date : 12/3/2018
                                                                             Total Due : $ 815.02


                                                                                PAYMENT WUH CREDIT CARD
                                                                               cardholder's Name:
                                                                               card Number:
                                                                               Exp. Date:                         Phone#:
Remit To: Royal Reporting Services, Jnc.
         161 North Clark Street                                                Billing Address:
         Suite 3050                                                            Zip:                    card Security Code:
         Chicago, IL 60601                                                     Amount to Charge:
                                                                               cardholder's Signature:
                                                                               Email:
               Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 6 of 9 PageID #:1152


                                                                                                              INVOICE
 Royal Reporting Services, Inc.
                                                                                                   Invoice No.              Invoice Date                  Job No.
 161 North Clark Street
 Suite 3050                                                                                           27195                   1/23/2019                    14358
 Chicago, IL 60601
                                                                                                    Job Date                                case No.
 Phone:312.361.8851 Fax:312.361.8861
                                                                                                    11/8/2018           17 015235

                                                                                                                             Case Name

                                                                                             Soucie, Michelle v. City of Braidwood, Illinois

        David L. Miller
        Rock Fusco & Connelly, LLC                                                                                        Payment Tenns
        321 N. Clark Street
                                                                                             Net 30
        Suite 2200
        Chicago, IL 60654


 COPY OF TRANSCRIPT IN ETRAN FORMAT:
        Eric Tessler                                                                                          55.00 Pages           @             2.83              155.65
               Exhibits scanned                                                                                7.00 Pages           @             0.38                2.66

                                                                                                           TOTAL DUE >>>                                        $158.31

 Payments not received within 60 days will be subject to a 5% per month late fee.

 Thank you! We appreciate your business!

                                                                                                           (-) Payments/Credits:                                     0.00
                                                                                                           ( +) Finance Charges/Debits:                               0.00
                                                                                                           (=)New Balance:                                      $158.31



                                                   SY .Cfo¢ ~ $4'1. 5'0
                                                                                      ~ - ~(p




Tax ID: 45·5185890

                                                        Please detach bollom portion and return with payment.



 David L. Miller                                                                           Invoice No.            27195
 Rock Fusco & Connelly, LLC                                                                Invoice Date           1/23/2019
 321 N. Clark Street
 Suite 2200                                                                                Total Due              $158.31
 Chicago, IL 60654




                                                                                          Job No.                 14358
Remit To:   Royal Reporting Services, Inc.                                                 BU ID                  RRS·MAIN
            161 North Clark Street
                                                                                          Case No.                17 0/5235
            Suite 3050
            Chicago, IL 60601                                                             Case Name               Soucie, Michelle v. City of Braidwood, Illinois
   ROCK FUSCO Case:  1:17-cv-05235
                & CONNELLY,   LLC •Document #: 75-1
                                    OPERATING       Filed: 04/16/19 Page 7 of 9 PageID #:1153
                                               ACCOUNT
                                                                                                                                                                          24948
       Allen M. Soucie                                              I 0/3/20 I8        24948
 VENDOR:                                                                                                                                       CHECK NO:
(OUR REF. NO.      I       YOUR INVOICE NUMBER          I INVOICE DATE                  INVOICE AMOUNT                        AMOUNT PAID                        DISCOUNT TAKEN        J
                                na                       I0/03/2018                             69.33                      69.33                              0.00
           29829/7 - Allen Soucie witness fee pursuant to subpoena.




                                                                                                                                                                          24948
                                                                                                              WINTRU§J:
                       ROCK FUSCO & CONNELLY, LLC                                                              Chicago
                                         OPERATING ACCOUNT
                               321 NORTH CLARK STREET, SUITE 2200                                    70·2544/719
                                       CHICAGO, IL 60654                                                              CHECK NO.            CHECK DATE                VENDOR NO.
                                         (312) 494-1000
                                                                                                  u:==           24948                 I 0/03/20 I8             TEMP
  PAY                                                                                                                                         CHECK AMOUNT


           Sixty-nine and thirty-three/1 00                                                                                                69.33


                   Allen M. Soucie
  TOTHE            I3124 W. 3000 N. Road
  ORDER
  oF               Essex, IL 60935
                                                                                                                                            AUTHORIZED SIGNATURE




  ROCK FUSCO & CONNELLY, LLC • OPERATING ACCOUNT-
                                                                                                                                                                          24948
             Allen M. Soucie                                                                                            I 0/3/2018                           24948
VENDOR:                                                                                                                                       CHECK NO:
OUR REF. NO.    I         YOUR INVOICE NUMBER             INVOICE DATE                 INVOICE AMOUNT                        AMOUNT PAID                        DISCOUNT TAKEN

                               na                        10/03/2018                             69.33                     69.33                               0.00
           29829/7 - Allen Soucie witness fee pursuant to subpoena.




 PRODUCT SSLM22B       USE WITH 91500 ENVELOPE     Deluxe Corporation 1·800·328·0304 or www.deluxe.com/shop     PRINTED IN U S.A                       ...
                                                                                                                                                                          5655412101
                                                                                                                                            A0870C CHIKDK03 06 / 14/201R 1n·~5 .Rqq.
                          Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 8 of 9 PageID #:1154                                                             24820
   ROCKti~~~~:h CONNELLY, LLC • OPERATING ACCOUNT
                                                                                                                     911112018                        24820
 VENDOR:                                                                                                                                   CHECK NO:
(rO_U_
     R-RE-F.-.N-O-.',---Y-O_U_
                             R-IN-VO
                                   _I_
                                     C-EN_U_M_B_ER---,,.-IN_V_
                                                             O_IC-
                                                                 E-DA_T_E-r-----
                                                                               IN-
                                                                                 VO-I-
                                                                                     CE_A_M_O_U_
                                                                                               NT-----r-----A-M-0-
                                                                                                                 UN_T_R_A-
                                                                                                                         ID----~~~~-D-IS_C_
                                                                                                                                          O-UN_T_T-
                                                                                                                                                  AK_E_
                                                                                                                                                      N __~,

                             0252807411                08/15/2018                             71.05                     71.05                          0.00

           29829 7




                                                                                                                                                                     24820
                                                                                                            WINTRU§J:
                     ROCK FUSCO & CONNELLY, Ll!C                                                             Chicago
                                       OPERATING ACCOUNT
                             321 NORTH CLARK STREET, SUITE 2200                                    70-2544/719
                                     CHICAGO, IL 60654                                                              CHECK NO.            CHECK DATE             VENDOR NO.
                                       (312) 494-1000
                                                                                                               24820                09/11/2018            001928

  PAY                                                                                                                                      CHECK AMOUNT


           Seventy-one and five/1 00                                                                                                     71.05


                   Ciox Health
  TO THE           P.O. Box 409740
  ORDER
  OF
                                                                                                                                         AUTHORIZED SIGNATURE




  ROCK FUSCO & CONNELLY, LLC • OPERATING ACCOUNT
                                                                                                                                                                     24820
             Ciox Health                                                                                             9111/2018                        24820
VENDOR:                                                                                                                                    CHECK NO:
OUR REF. NO.   I        YOUR INVOICE NUMBER             INVOICE DATE                 INVOICE AMOUNT                        AMOUNT PAID                     DISCOUNT TAKEN

                              0252807411               08/15/20 18                            71.05                      71.05                          0.00

           29829/7




 PRODUCT SSLM228     USE WITH 91500 ENVELOPE     Deluxe Corporation 1-800-328-0304 or www.deluxe.com/shop     PRINTED IN U S.A
                        Case: 1:17-cv-05235 Document #: 75-1 Filed: 04/16/19 Page 9 of 9 PageID #:1155

        Clox Health
        P.O. Box 409740
                                                                                     CiO><     HEALTH
                                                                                                                                                   Invoice #:
                                                                                                                                                   Date:
                                                                                                                                                              0252807411
                                                                                                                                                              8/15/2018
        Atlanta, GeQrgia 30384-9740                                                  INVOICE                                                       Customer#: 2162089
        Fed Tax ID 58- 2659941
        1-800-367-1500

         Ship to:                                                         Bill to:

          ROCK FUSCO AND CONNELLY                                          ROCK FUSCO AND CONNELLY                                           PRESENCE MEDICAL GROUP
          ROCK FUSCO AND CONNELLY LLC                                      ROCK FUSCO AND CONNELLY LLC                                       7435 W TALCOTT AVE
          321 N CLARK ST                                                   321 N CLARK ST                                                    CHICAGO, IL 60631-3707
          STE 2200                                                         STE 2200
          CHICAGO, IL 60654-4614                                           CHICAGO, IL 60654-4614


         Requested          By: ROCK FUSCO AND CONNELLY                                                                         031276
         Patient Name:             SOUCIE MICHELLE




          Description                                                                                    Quantity                  Unit Price                     Amount

          Basic Fee                                                                                                                                                      27.91
          Retrieval Fee                                                                                                                                                   0.00
          Per Page Copy (Paper) 2                                                                              25                               1.05                     26.25
          Per Page Copy (Paper) 1                                                                              20                               0.70                     14.00
          Shipping                                                                                                                                                        2.89
          Subtotal                                                                                                                                                       71.05
          Sales Tax                                                                                                                                                       0.00
          Invoice Total                                                                                                                                                  71.05
          Balance Due                                                                                                                                                    71.05




                                                       Pay your invoice online at httgs ://ga~cioxhealth.com/ga~d

        Terms: Net 30 days                                             Please remit this amount : $ 71.05 (USD)

............................................................   ~   ...............................................................................................................................
       Clox Health
       P.O. Box 409740
       Atlanta, Georgia 30384-9740
       Fed Tax ID 58 - 2659941
       1-800-367-1500                                                                                                    oo•-    ·-•-••••••·-- - •• o o • - · - - - - • • • • • - • ••- • • · - - - • " 1

                                                                                                                            Invoice #: 0252807411                                                       1

                                                                                                                                                                                                        I
                                                                                                                                                                                                        I
                                                                                                                            Check #                                                                     I
Get future medical records as soon as they are processed,
by signing up for secure electronic delivery.
                                                                                                                            Payment Amount$                                                             I
                                                                                                                         ....---·-·---·--·---.. -·------ ·- ..·-·--·-·-·------..- ............. - ....1
Register at: edelivery.cioxhealth.com

Please return stub with payment.
Please include invoice number on check.
To pay invoice online, please go to https://pa~cioxhealth.com/pa~/ or call 800-367-1500.
Email questions to collections@cioxhealth.com.
